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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             Case No. 8:05CR186
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )                     ORDER
                                               )
WILLIAM HANSEN,                                )
                                               )
                       Defendant.              )


       IT IS ORDERED that defendant's unopposed oral motion for a continuance of trial is granted.
A status hearing regarding trial of the defendant is scheduled before the undersigned in Courtroom
No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska,
on December 22, 2005, at 1:00 p.m. Since this is a criminal case, the defendant shall be present,
unless excused by the court. If an interpreter is required, one must be requested by the plaintiff
in writing five (5) days in advance of the scheduled hearing.
       The ends of justice will be served by granting the defendant's request for a continuance, and
outweigh the interests of the public and the defendant in a speedy trial. The additional time arising
from the date of trial to the date of the scheduled status hearing, namely, November 28, 2005,
through December 22, 2005, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act, for the reason that defendant's counsel requires additional
time to adequately prepare the case, taking into consideration due diligence of counsel and the
novelty and complexity of this case, and the failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 18th day of November, 2005.
                                               BY THE COURT:




                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
